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 9
                                  UNITED STATES DISTRICT COURT
10
                                       DISTRICT OF NEVADA
11

12   ROBERT ANSARA, as Special                    )   CASE NO.: 2:19-CV-01394-GMN-VCF
     Administrator of the estate of D.B., born    )
13   December 18, 2015 and died August 15,        )   STIPULATION AND ORDER FOR
     2017 and GABRIELLE BRANON-                   )   EXENSION TO REPLY TO
14
     CHESLEY, individually, as the Natural        )   PLAINTIFFS’ COUNTERMOTION
15   Mother of D.B., DAVID BANKS,                 )   TO AMEND COMPLAINT
     individually and as the Natural Father of    )   (FIRST REQUEST)
16   D.B.,                                        )
                                                  )
17                  Plaintiffs,                   )
18                                                )
     v.                                           )
19                                                )
     GLORIA MALDONADO, et. al.
                                                  )
20
                  Defendants.                     )
21   ___________________________________          )

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23
            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
24
     counsel of record, that the deadline for Plaintiffs ROBERT ANSARA, as Special Administrator
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26
     of the estate of D.B., GABRIELLE BRANON-CHESLEY, individually, as the Natural Mother

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     ///
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                                                 1
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     of D.B., DAVID BANKS, individually and as the Natural Father of D.B. to file their Reply to
 1

 2   Plaintiffs’ Countermotion to Amend Complaint be extended from October 16, 2020 to November

 3   16, 2020.
 5
      Date:_October 13, 2020                        Date:__October 13, 2020_____________________
 6    RICHARD HARRIS LAW FIRM                       OLSON, CANNON, GORMLEY &
                                                    STOBERSKI
 7    /s/ Samantha Martin, Esq.                     /s/ Felicia Galati
 8
      _____________________________                 ____________________________
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11
      Attorneys for Plaintiffs                      Attorneys for Defendants
                                                    Clark County, Gloria Maldonado,
12                                                  Audra Guitierrez/Guerro,
13

14
                                              ORDER
15

16
            IT IS SO ORDERED.
17
            DATED this 15th day of October, 2020.
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20                                             _________________________
                                               United States Magistrate Judge
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